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Attorney for Defendant
Equifax Information Services LLC


                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

JOSEPH ROBINSON and JENNIFER
ROBINSON,
               Plaintiffs,
                                                Case No. 9:25-cv-00012-KLD
         v.

EXPERIAN INFORMATION                               DEFENDANT EQUIFAX
SOLUTIONS; TRANSUNION, LLC;                        INFORMATION SERVICES LLC
EQUIFAX INFORMATION                                SERVICING’S NOTICE OF
                                                   INTERESTED PARTIES
SERVICES, LLC; ROCKY
MOUNTAIN RCOVERY SYSTEMS,
INC, and JOHN DOES 1-10,
                Defendants.


Pursuant to Local Rule 7.1-1, Equifax Information Services LLC (“Equifax”) makes
the following disclosures:
         Equifax is a foreign Limited Liability Company.
         Equifax is a wholly-owned subsidiary of Equifax, Inc., which is a publicly
traded company on the NYSE, and is the sole parent of Equifax. No other entity




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owns 10% or more of Equifax’s stock.

                                              Respectfully submitted,
                                              /s/ Charles H. Carpenter
                                              Attorney for Defendant
                                              Equifax Information Services LLC




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                            CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was served on this February 10,

2025, via the Court’s CM/ECF system on all counsel of record.




                                                 /s/    Charles H. Carpenter




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